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                       UNITED STATES DISTRICT COURT
7                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
8                                (San Diego)
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      AL OTRO LADO, Inc., et al.,                 Case No. 3:17-cv-02366-BAS-KSC
10
11                                  Plaintiffs,
                                                  MOTION TO WITHDRAW
12                      v.                        AS DEFENDANTS’ COUNSEL OF
                                                  RECORD FOR ARI NAZAROV
13 ALEJANDRO MAYORKAS, Secretary,
   U.S. Department of Homeland Security, in
14 his official capacity, et al.,            Hearing Date: May 3, 2021
15                                Defendants NO ORAL ARGUMENT UNLESS
16                                           REQUESTED BY THE COURT
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     Case 3:17-cv-02366-BAS-KSC      Document 700     Filed 03/25/21    PageID.58245      Page
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1     TO THE COURT AND ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
2     Please take notice that pursuant to Local Rule 83.3(f)(3), Defendants provide notice
3     that Ari Nazarov is no longer employed with the Office of Immigration Litigation
4     and no longer counsel for Defendants in this case.
5           All other counsel of record will continue to represent Defendants in this case.
6     Accordingly, Defendants respectfully request the Court grant Defendants’ Motion
7     to Withdraw As Defendants’ Counsel of Record for Ari Nazarov.
8           Plaintiffs are simultaneously receiving notice of this Motion as set forth in the
9     attached Declaration of Counsel and Certificate of Service.
10
11          //
12          //
13
14    Dated: March 25, 2021                  Respectfully Submitted,
15
16                                           /s/ Ari Nazarov
17                                           ARI NAZAROV
                                             Trial Attorney
18                                           U.S. Department of Justice
19                                           Civil Division
                                             P.O. Box 888, Ben Franklin Station
20                                           Washington, D.C. 20044
21                                           Tel: (202)-616-4162
                                             ari.nazarov@usdoj.gov
22
23                                           Counsel for Defendants

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                                                                      MOTION TO WITHDRAW
                                                1    AS DEFENDANTS’ COUNSEL OF RECORD ARI
                                                                                     NAZAROV
                                                                Case No. 3:17-cv-02366-BAS-KSC
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1                             CERTIFICATE OF SERVICE
2                           Case No. 3:17-cv-02366-BAS-KSC
3           I certify that on March 25, 2021, I served a copy of this motion on the
4     following persons via ECF:
5
6      Matthew Ellis Fenn                       Stephen Medlock
       mfenn@mayerbrown.org                     smedlock@mayerbrown.com
7
8      Matthew M. Marmolejo                     Angelo R. Guisado
       mmarmolejo@mayerbrown.com                aguisado@ccrjustice.org
9
10                                              Baher Azmy
       Ori Lev                                  bazmy@ccrjustice.org
11     olev@mayerbrown.com
12                                              Ghita R. Schwarz
13     Rebecca Cassler                          gschwarz@ccrjustice.org
       rebecca.cassler@splcenter.org
14                                              Karolina J. Walters
15     Sarah Marion Rich                        kwalters@immcouncil.org
       sarah.rich@splcenter.org
16                                              Melissa E. Crow
17                                              melissa.crow@splcenter.org
18
19
20                                              /s/ Ari Nazarov
                                                Ari Nazarov
21
                                                Trial Attorney
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                                                                    MOTION TO WITHDRAW
                                            2      AS DEFENDANTS’ COUNSEL OF RECORD ARI
                                                                                   NAZAROV
                                                              Case No. 3:17-cv-02366-BAS-KSC
